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 1   ROGER K. LITMAN, 57634
     Attorney at Law
 2   Civic Center Square
     2300 Tulare Street, Suite 230
 3   Fresno, California 93721
     Telephone:     (559) 237-6000
 4   Facsimile:     (559) 233-6044

 5   Attorney for Defendant, ELIEZAR AGUILAR-MADRIZ

 6
                        IN THE UNITED STATES DISTRICT COURT FOR THE
 7
                                 EASTERN DISTRICT OF CALIFORNIA
 8

 9   UNITED STATES OF AMERICA, )                   CASE NO. 1:13-cr-00420 LJO/SKO
                                    )
10         Plaintiff,               )
                                    )              STIPULATION AND ORDER
11      v.                          )              TO CONTINUE SENTENCING
                                    )
12   ELIEZAR AGUILAR-MADRIZ,        )
                                    )
13          Defendant               )
     ______________________________ )
14
            The parties hereto, by and through their respective attorneys, stipulate and agree that the
15
     sentencing hearing in this matter, currently calendared for June 8, 2014 at 8:30 a.m., be continued
16

17   to June 29, 2015 at 8:30 a.m. before the Hon. Lawrence J. O’Neill

18          The continuance necessitated as additional time is needed for Mr.Aguilar-Madriz to

19   qualify pursuant to U.S.S.G. § 5C1.2(a)(5).
20
            The parties also agree that any delay resulting from this continuance shall be excluded in
21
     the interest of justice pursuant to 18 U.S.C. §§3161(h)(1)(F), 3161(h)(8)(A) and 3161(h)(8)(B)(I).
22

23   DATED: June 4, 2015                           /s/ Kathleen Servatius
                                                   KATHLEEN SERVATIUS
24                                                 Assistant United States Attorney
                                                   This was agreed to by Ms. Servatius
25                                                 via telephone on June 4, 2015
26
     DATED: June 4, 2015                           /s/ Roger K. Litman
27                                                 ROGER K. LITMAN
                                                   Attorney for Defendant
28                                                 ELIEZAR AGUILAR-MADRIZ
                                                       1
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 1   No further continuances.

 2
     IT IS SO ORDERED.
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 4      Dated:    June 4, 2015                   /s/ Lawrence J. O’Neill
                                              UNITED STATES DISTRICT JUDGE
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